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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                                 Case No.: 1:23-cv-24826-GAYLES

  STEPHANIE RAMOS,

          Plaintiff,
  v.

  BARCLAYS BANK DELAWARE,
  EQUIFAX INFORMATION
  SERVICES LLC,
  EXPERIAN INFORMATION
  SOLUTIONS, INC., and
  TRANS UNION LLC,

        Defendants.
  _________________________________/


                 JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE
                        AS TO DEFENDANT, TRANS UNION LLC

          Plaintiff, STEPHANIE RAMOS (hereinafter, “Plaintiff”), and Defendant, TRANS

  UNION LLC (hereinafter, “Trans Union”) pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby file

  this Joint Stipulation for Dismissal with Prejudice as to Defendant Trans Union LLC as follows:

          There are no longer any issues in this matter between Plaintiff and Trans Union to be

  determined by this Court. Plaintiff and Trans Union hereby stipulate that all causes of action that

  were or could have been asserted against Trans Union are dismissed with prejudice, with court

  costs and attorneys’ fees to be paid by the party incurring the same.

       Dated: September 16, 2024

                                                Respectfully submitted,




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   Counsel for Defendant Trans Union LLC



                        CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on September 16, 2024, I filed a true and correct copy of the

  above and foregoing Joint Stipulation for Dismissal with Prejudice as to Defendant Trans Union

  via CM/ECF and will serve a copy of the same to counsel of record for all parties.

                                               /s/ Jon P. Dubbeld
                                               Attorney




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